Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 1 of 6


                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                              CASE NO.: 19-cv-81700-MIDDLEBROOKS

HEALTHCARE RESOURCES
MANAGEMENT GROUP, LLC,

       Plaintiff,

       v.

ECONATURA ALL HEALTHY
WORLD, LLC, MEDTERRA CBD,
LLC, REJUVENOL LABORATORIES,
INC., and NOXENO HEALTH
SCIENCES, INC.,

      Defendants.
___________________________________/

                                                  ORDER

       THIS CAUSE comes before the Court upon Plaintiff Healthcare Resources Management Group,

LLC’s “Pro Se Motion for Extension of Time to Obtain New Counsel,” filed on May 18, 2020. (DE 51).

All Defendants have filed separate responses in opposition to the Motion. (DE 52; DE 53; DE 54; DE 55).

For the following reasons, the Motion is stricken, and Plaintiff’s Amended Complaint is dismissed without

prejudice.

       On April 24, 2020, Plaintiff’s counsel moved to withdraw as counsel of record. (DE 44). I granted

the motion on April 27, 2020. (DE 45). In that Order, I recognized that because Plaintiff is an artificial

entity, it must be represented by counsel and is unable to proceed pro se. (Id. at 1). Plaintiff was provided

twenty-days to secure replacement counsel, meaning that replacement counsel was required to enter a

notice of appearance by May 18, 2020. (Id. at 2). Plaintiff was advised that “[f]ailure to obtain replacement

counsel by that day may result in dismissal of this action for failure to prosecute.” (Id.).

       On the deadline to obtain replacement counsel, Sam Genovese—the managing member of Plaintiff

Healthcare Resources Management Group, LLC—moved for an extension of time obtain replacement

counsel. (DE 51). Defendant MedTerra CBD initially argues that I should disregard this filing because
Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 2 of 6


artificial entities must be represented by counsel.1 (DE 54 at 1). I agree. As discussed, artificial entities

may not represent themselves pro se. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985)

(“The rule is well established that a corporation is an artificial entity that . . . cannot appear pro se, and

must be represented by counsel.”). Accordingly, Genovese’s Motion is a nullity and must be stricken.

       Moreover, even if I were to reach the merits of the Motion, I would deny it for two reasons. As an

initial matter, pursuant to S.D. Fla. Local Rule 7.1(a)(3), prior to filing any motion in a civil case, counsel

for the moving party shall certify “that counsel for the movant has conferred with all parties or non-parties

who may be affected by the relief sought in the motion in a good faith effort to resolve the issues raised

in the motion and has been unable to do so.” S.D. Fla. L.R. 7.1(a)(3). Plaintiff’s Motion fails to include

such a certification, which would be reason alone to deny the Motion.

       More fundamentally, Defendant MedTerra argues and I agree that Plaintiff has failed to establish

that despite its diligence, it could not comply with the deadline to obtain replacement counsel. The

Scheduling Order, which encompasses other deadlines set throughout litigation, may be modified only

“upon a showing of good cause.” Fed. R. Civ. P. 16(b)(4). “This good cause standard precludes

modification unless the schedule cannot ‘be met despite the diligence of the party seeking the extension.’”

Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (citing Fed. R. Civ. P. 16 advisory

committee’s note).

       The record here demonstrates that Plaintiff has been far from diligent in litigating this matter.

Plaintiff first filed a motion to modify the scheduling order on February 5, 2020. (DE 8). Plaintiff initially

requested the modification because its then counsel had a conflict with the August 17 trial date in this

matter. I rejected this argument as premature. Additionally, I declined to extend any deadline within the

Pretrial Scheduling Order because it failed to explain how Plaintiff had been diligently litigating this




1
 I focus on Defendant MedTerra’s response because it succinctly captures all of the reasons why Plaintiff
is not entitled to the requested relief.
                                                 2
Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 3 of 6


matter. (DE 9). It similarly failed to describe any obstacles Plaintiff expected to encounter throughout

discovery that would render the current litigation schedule impractical. (Id.). That order was entered on

February 6, 2020, meaning Plaintiff has been on notice for over three months as to what it would have to

establish to obtain an extension of any deadline in this matter.

       Plaintiff subsequently filed two motions to extend the expert disclosure deadlines. The first motion

was filed on March 9, 2020. (DE 31). At that time, Plaintiff’s deadline to disclose expert witnesses was

March 9, 2020. (Id.). Plaintiff’s motion established that it had been able to retain all experts except for an

expert on damages. (Id. at 2). It further established that it had been in talks with such an expert; however,

the expert ultimately declined to represent Plaintiff, as he could not prepare the report under the current

schedule. (Id. at 3). In light of these representations, I found good cause to grant a limited extension of the

expert deadline. (DE 32).

       On April 16, 2020, the Parties moved for a further extension of the expert disclosure deadlines.

(DE 42). In light of the fact that the motion was filed by all Parties and they represented that the requested

extension would not alter any other deadline in this litigation, I granted the motion. (DE 43).

       In between the motions seeking an extension of the expert disclosure deadlines, Plaintiff filed a

motion to vacate the Pretrial Scheduling Order and to reset the trial date. (DE 36). Plaintiff filed this

motion even though it had been informed on multiple occasions that extensions of deadlines would only

be granted if the moving party pleads specific facts demonstrating that despite its diligence, it could not

comply with the current deadline(s). (See, e.g., DE 9). Even with these warnings, Plaintiff’s successive

motion to vacate the Pretrial Scheduling Order did not sufficiently explain how despite its diligence, it

was unable to comply with the deadlines. (DE 36). Instead, Plaintiff requested suspending all deadlines

due to the business disruption caused by Covid-19. (Id. at 6). To its credit, Plaintiff provided some detail

as to how the ongoing pandemic had affected its ability to litigate this matter. (Id. at 4). At the same time,




                                                      3
Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 4 of 6


the motion failed to indicate why Plaintiff had not conducted the impacted discovery before the pandemic

truly affected this country.

        Even considering these deficiencies, I granted the motion in part. (DE 39). I declined Plaintiff’s

invitation to indefinitely suspend all deadlines in its own case. Instead, I granted an extension of the

discovery deadline and the deadline to file dispositive motions. (Id.). This determination was based upon

the fact that Plaintiff described how the ongoing pandemic had affected its ability to litigate this case. (Id.

at 2). However, I cautioned Plaintiff that if it sought any further extension, it should be prepared to describe

what actions were taken to complete the impacted discovery during the several months this case had been

pending before Covid-19 impacted the United States. (Id. at 2-3).

        Needless to say, this record demonstrates that Plaintiff has not diligently litigated this case. With

this backdrop, I turn to the present Motion, in which Genovese (impermissibly) seeks an additional twenty-

days to obtain replacement counsel. (DE 51). Genovese makes this request because he has been unable to

secure replacement counsel due to disruption caused by Covid-19. Genovese states that it has been

“diligently seeking representation from new counsel in, but due to several law offices being closed and

the associated difficulty in contacting attorneys, Plaintiff has been unable to secure new counsel.” (Id. at

1). Genovese further states that it recently contacted a law firm who is considering representing Plaintiff;

however, that firm has not yet agreed to represent Plaintiff. (Id. at 2).

        In response, Defendant MedTerra contends that Plaintiff’s pandemic related arguments are “vague

excuses for not being able to retain counsel.” (DE 54 at 2). MedTerra specifically states that Genovese’s

“claim is disingenuous, as attorneys and staff across Florida continue to work remotely or, in some cases,

continue to work from their offices.” (Id.).

        In light of the several instructions provided regarding obtaining extensions of time, I agree with

MedTerra that Genovese fails to establish that he has diligently attempted to obtain replacement counsel.

Plaintiff’s then counsel moved to withdraw on April 24, 2020, meaning Genovese has known for at least


                                                       4
Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 5 of 6


twenty-six days that he needed to obtain replacement counsel. Yet, aside from generally stating that law

firms declined to represent Plaintiff due to the ongoing pandemic, Genovese fails to offer any specific

details, i.e., the number of firms contacted, when they were contacted, when they declined to represent

Plaintiff, and why they declined. Genovese similarly fails to provide any information regarding the firm

that is apparently considering representing Plaintiff. Thus, even if the present Motion were to be

considered on the merits, it would be denied because the record demonstrates that Plaintiff has not

diligently litigated this matter. And Plaintiff has not established that despite its diligence, it has been

unable to timely obtain replacement counsel.

       Additionally, MedTerra’s response to the present Motion establishes that Defendants would be

prejudiced if any further extension is given. MedTerra specifically states that:

       the discovery cutoff in this case is less than a month from today. Plaintiff has failed to
       respond to MedTerra’s discovery requests (originally due on April 2 but extended the first
       time through April 22, and the second time through April 29 by request of prior counsel),
       and Plaintiff has missed its deadline to designate an expert (May 15). Indeed, Plaintiff has
       not even produced its purported “proprietary formula” to any of the Defendants – the
       lynchpin of Plaintiff’s case that gives rise to all of Plaintiff’s claims. To permit Plaintiff
       another 20 days to retain counsel would cause extreme prejudice to Medterra, given the
       current pre-trial deadlines and upcoming August 17 trial date.

(DE 54 at 2-3). This response further describes how Plaintiff has not diligently litigated this matter.

Defendants should not be penalized for Plaintiff’s dilatory conduct. Defendants are entitled to a timely

resolution of this matter and given the posture of this case and the manner in which Plaintiff has litigated

it, Defendants would be prejudiced if extensions are granted.

       Finally, because Plaintiff is an artificial entity which must be represented by counsel, I will dismiss

the Amended Complaint for failure to prosecute. See Fed. R. Civ. P. 41(b); see also Duong Thahn Ho. V.

Costello, 757 F. App’x 912, 914 (11th Cir. 2018) (“Although the plain language of Rule 41(b) indicates

that a defendant may move for dismissal, a district court may sua sponte dismiss a case under the authority

of either Rule 41(b) or the court’s inherent power to manage its docket.”).



                                                     5
Case 9:19-cv-81700-DMM Document 56 Entered on FLSD Docket 05/21/2020 Page 6 of 6


      Accordingly, it is ORDERED AND ADJUDGED that:

      1. Plaintiff’s “Pro Se Motion for Extension of Time to Obtain New Counsel” (DE 51) is

         STRICKEN.

      2. Plaintiff’s Amended Complaint (DE 5) is DISMISSED WITHOUT PREJUDICE.

      3. The Clerk of Court shall CLOSE THIS CASE and DENY AS MOOT all pending motions.


      SIGNED in Chambers in West Palm Beach, Florida, this 21st day of May, 2020.



                                               ___________________________________
                                               DONALD M. MIDDLEBROOKS
                                               UNITED STATES DISTRICT JUDGE


cc:   Counsel of Record;
      Healthcare Resources Management Group, LLC
      1288 NW 16 Street
      Boca Raton, FL 33486




                                               6
